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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                              SOUTHWESTERN DIVISION

United States of America,                   )
                                            )
              Plaintiff,                    )       ORDER GRANTING AMENDED
                                            )       MOTION FOR MODIFICATION
       vs.                                  )
                                            )
Bretton Robert Link,                        )
                                            )       Case No. 1:13-cr-129
              Defendant.                    )


       Defendant Bretton Robert Link is charged by indictment with one count of conspiracy to

distribute methamphetamine and one count of possession with intent to distribute methamphetamine

within a school zone. On September 19, 2013, the court granted a Motion for Writ of Habeas

Corpus Ad Prosequendum ordering that Defendant appear on the indictment in federal court on

September 26, 2013, after which time the United States Marshal was directed to “RETAIN said

detainee for all further proceeding as ordered by the Court, after which the detained shall be

RETURNED to the original custodian.” Defendant appeared for his initial appearance and

arraignment on September 26, 2013, and was ordered committed to the custody of the Attorney

General.

       On October 2, 2013, Defendant filed a “Motion for Modification of Habeas Corpus Ad

Prosequendum.” (Docket No. 180). On October 3, 2013, Defendant filed an “Amended Motion for

Modification of Habeas Corpus Ad Prosequendum.” (Docket No. 182). Defendant requests the

court to order the United States Marshal to return Defendant to state custody so that he can be

sentenced on state charges on October 25, 2013 and immediately begin his state sentence. The

Government has not filed a response.

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       Local Rule 47.1 provides that upon service of a memomradum in support of a motion, an

adverse party has fourteen days to file a response. D.N.D. Crim. L.R. 47.1(A). It further provides

that an adverse party’s failure to file a response may be deemed an admission that the motion is well

taken. D.N.D. Crim. L.R. 47.1(E). More than fourteen days have lapsed since Defendant file his

motion. The Government’s failure to file a response may be deemed an admission that the motion

is well taken. Accordingly, the court GRANTS the Amended Motion for Modification (Docket No.

182) and ORDERS that the United States Marshal shall return Defendant to state custody for his

sentencing set for October 25, 2013 at 11:00 AM at the Burleigh County Courthouse or honor any

writ issued by the state court. Defendant’s original motion for modification (Docket No. 180) is

deemed MOOT.

       IT IS SO ORDERED.

       Dated this 24th day of October, 2013.

                                              /s/ Charles S. Miller, Jr.
                                              Charles S. Miller, Jr., Magistrate Judge
                                              United States District Court




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